  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

                District of                                                                                       -ILED USBG GLRK FHX
  Case number(ifknown):                                     Chapter you are filing under:
                                                                                                                        2020JflN6     9:52
                                                            a Cha 7
                                                            a C pteM1
                                                            a hapterl2
                                                               Chapter 13
                                                                                                                           Q Checkifthisis an
                                                                                                                             amended filing


Official Form 101
                                                                                   0000
                                     io                                     uals                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case--andinjoint cases, these forms use you to ask for information from both debtors. Forexample, if a form asks, "Doyou own a car,"
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor2 to distinguishbetweenthem. Injoint cases, one of the spouses must report information as Debtor1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurateas possible. Iftwo married peopleare filing together, both are equally responsiblefor supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answerevery question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
i. Your full name
   Write the name that is on your
   government-issued picture
                                                      A
                                     First name                                             First name
   identification (for example,
   your driver's license or
   passport).                        Middle                                                 Middle name

   Bring your picture
                                      ast name                                              Last name
   identification to your meeting
   with the trustee.
                                     Suffix(Sr., Jr., II,                                   Suffix(Sr., Jr., II, III)




2. All other names you
   have used in the last 8           First name                                             First name
   years
   Include your married or           Middle name                                            Middle name
   maiden names.
                                     Last name                                              Last name



                                     First name                                             First name


                                     Middle name                                            Middle name


                                     Last name                                              Last name




3. Only the last 4 digits of
                                                                                            XXX      -   XX
   your Social Security
   number or federal                                                                        OR
   Individual Taxpayer
   Identification number                                                                    9xx - xx


Official FormCase
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                                                      for Individuals        Entered
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Debtor 1                                         -/-/(    ^'/-                            Case number (fftnoim)




                              About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer               Q I havenotusedanybusinessnamesorEINs.                            Q I havenotusedanybusinessnamesorEINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years           Business name                                                    Business name

    Includetrade names and
    doing businessas names    Business name                                                    Business name




                              EIN                                                              EIN


                              EIN                                                              EIN




5. Where you live                                                                              If Debtor 2 lives at a different address:



                               f^^                    i0. /^ 166ft- /^7&
                             Number              Street                                        Number            Street




                                            r
                             City                                     State    ZIP Code        City                                      State     ZIPCode


                                    nty                                                        County


                             If your mailing address is differentfrom theone                   If Debtor 2's mailing address is different from
                             above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                             any notices to you at this mailing address.                       any notices to this mailing address.



                             Number              Street                                        Number            Street



                             P.O, Box                                                          P. O. Box



                             City                                     State    ZIPCode         City                                      State     ZIP Code




6. Why you are choosing      Che          one:                                                 Check one:
   this districtto We for
   bankmptey
                                    Over the last 180 days before filing this petition,        Q Overthelast180daysbeforefilingthispetition,
                                    I have lived in this district longer than in any                  I have lived in this district longer than in any
                                    other district.                                                   other district.

                             Q I have another reason. Explain.                                 Q I have another reason. Explain.
                               (See28 U.S.C. § 1408.)                                                 (See28U. S.C. §1408.)




                               Voluntary
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Part 2:     Tell the Court About Your Bankruptcy Case


   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you          for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosingto file          a Chapter 7
    under
                                a Chapter 11
                                a Chapter 2
                                       apter13


s. How you will pay the fee     Q I will paytheentirefeewhen I file my petition. Pleasecheckwiththe clerk'sofficein your
                                   local court for more details about how you may pay. Typically, if you are paying the fee
                                   yourself, you may paywith cash, cashier'scheck, or money order. Ifyour attorney is
                                   submitting your payment on your behalf, your attorney may paywith a credit card or check
                                   wijKa pre-printed address.

                                   I need to pay the fee in installments. If you choose this option, sign and attach the
                                   Applicationfor Individualsto Pay The Filing Fee in Installments (Official Form 103A).

                                a I request that my fee be waived QCou may request this option only if you are filing for Chapter 7.
                                   By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                   less than 150% of the official poverty line that applies to your family size and you are unable to
                                   paythe fee in installments). Ifyou choosethis option, you must fill outthe Application to Have the
                                   Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for           a No
   bankruptcy within the
                                a Yes.   District                                 When                     Case number
   last 8 years?
                                                                                         MM/ DD/YYYY
                                         District                                 When                     Case number
                                                                                         MM/ DD/YYYY
                                         District                                 When                     Case number
                                                                                         MM/ DD/YTTC



10. Are any bankmptcy           a No
    cases pending or being
                                a Yes.   Debtor                                                            Relationship to you
    filed by a spouse who is
    not filing this case with            District                                 When                     Case number, if known
    you, or by a business                                                                MM/DD /YYYY
    partner, or by an
    affiliate?
                                         Debtor                                                            Relationship to you

                                         District                                 When                     Case number, if known
                                                                                         MM/DD/YYYY



11. Do you rent your            a No. Goto line 12.
   residence?                   Q Yes. Hasyourlandlordobtainedanevictionjudgmentagainstyou?
                                         a No. Goto line 12.
                                         Q Yes. Fill out InitialStatementAboutanEvictionJudgmentAgainstYou (Form 101A) andfile it as
                                              part of this bankruptcy petition.




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 Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor        Q No. Goto Part4.
    of any full- or part-time
    business?                        Q Yes. Nameandlocationof business
   A sole proprietorship is a
   business you operate as an
                                              Name of business, if any
   individual, and is not a
   separate legal entity such as
   a corporation, partnership, or
   LLC.                                       Number      Street

   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                               City                                                   State            ZIPCode


                                              Check the appropriate box to describe your business:
                                              Q HealthCareBusiness(asdefinedin 11 U.S.C. § 101(27A))
                                              a SingleAssetRealEstate(asdefinedin 11 U.S.C.§ 101(518))
                                              a Stockbroker (asdefined in 11 U. S.C. § 101(53A))
                                              Q CommodityBroker(asdefinedin 11 U.S.C. § 101(6))
                                              Q Noneoftheabove

13. Are you filing under             Ifyou are filing under Chapter 11, the court must knowwhetheryou area small businessdebtorso that it
   Chapter 11 of the                 can setappropriatedeadlines. Ifyou indicatethat you are a small businessdebtor, you must attach your
   Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                     any of these documents do not exist, follow the procedure in 11 U. S. C. § 1116(1 )(B).
   are you a smart business
   debtoi7
                                     Q No. I am not filing under Chapter 11.
   For a definition of small
   business debtor, see              Q No. I amfilingunderChapter11,but I amNOTa smallbusinessdebtoraccordingtothedefinitionin
   11 U. S.C. §101(51D).                      the Bankruptcy Code.

                                     Q Yes. I amfilingunderChapter11 andI ama smallbusinessdebtoraccordingtothedefinitioninthe
                                              Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14. Do you own or have any           a No
    property that poses or is
    alleged to pose a threat         a Yes.    What is the hazard?
   of imminent and
   identifiable hazard to
   public health or safety?
   Or do you own any
   property that needs
                                               If immediate attention is needed, why is it needed?
   immediate attention?
   Forexample, do you own
   perishable goods, or livestock
   that must be fed, or a building
   that needs urgent repairs?
                                               Where is the property?
                                                                         Number       Street




                                                                         City                                             State   ZIP Code


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Debtor 1     ^/                            Je4-k                  v                               Case number pftnown)




Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     AboutDebtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit             You must check one:                                                You must check one:
   counseling.
                                     a I received a briefing from an approved credit                    Q I receiveda briefingfromanapprovedcredit
                                        counselingagency within the 180 days before I                       counseling agency within the 180 days before I
   The law requires that you            filed this Bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
   receive a briefingaboutcredit        certifi     of completion.                                          certificate of completion.
   counseling before you file for
                                        Att    a copy of the certificate and the payment                    Attach a copy of the certificate and the payment
   bankruptcy. You must
                                        p n, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
   truthfully check one of the
   following choices. If you            I received a briefing from an approved credit                   d I receiveda briefingfromanapprovedcredit
   cannot do so, you are not            counseling agency within the 180 days before I                      counseling agency within the 180 days before I
   eligible to file.                    filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
                                        certificate of completion.                                          certificate of completion.
   If you file anyway, the court        Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you           you MUSTfile a copy of the certificate and payment                  you MUST file a copy ofthe certificate and payment
   will lose whatever filing fee        plan, if any.                                                       plan, if any.
   you paid, and your creditors
   can begin collection activities   Q I certifythatI askedforcreditcounseling                          Q I certifythatI askedforcreditcounseling
   again.                               services from an approved agency, but was                           services from an approved agency, but was
                                        unable to obtain those services during the 7                        unable to obtain those services during the 7
                                        days after I made my request, and exigent                           days after I made my request, and exigent
                                        circumstances merit a 30-day temporary waiver                       circumstances merit a 30-day temporary waiver
                                        of the requirement.                                                 of the requirement
                                        To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                        requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                        whateffortsyou madeto obtain the briefing,why                      whatefforts you madeto obtainthe briefing,why
                                        you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                        bankruptcy, and what exigent circumstances                          bankmptcy, and what exigent circumstances
                                        required you to file this case.                                     required you to file this case.
                                        Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                        dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                        If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                        still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                        You must file a certificate from the approved                      You must file a certificate from the approved
                                        agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                        developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                        may be dismissed.                                                  may be dismissed.
                                        Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                        days.                                                              days.

                                     Q I am not required to receive a briefing about                    Q I am not required to receive a briefing about
                                        credit counseling because of:                                      credit counseling because of:

                                        Q Incapacity. I have a mental illness or a mental                   Q Incapacity. I havea mentalillnessora mental
                                                           deficiency that makes me                                           deficiencythat makes me
                                                           incapable of realizing or making                                   incapable of realizing or making
                                                           rational decisions about finances.                                 rational decisions about finances.
                                        Q Disability. Myphysicaldisabilitycausesme                          Q Disability. Myphysicaldisabilitycausesme
                                                           to be unable to participate in a                                   to be unable to participate in a
                                                           briefing in person, by phone, or                                   briefing in person, by phone, or
                                                           through the internet, even after I                                 through the internet, even after I
                                                           reasonably tried to do so.                                         reasonablytried to do so.
                                        Q Activeduty. I amcurrentlyonactivemilitary                        Q Active duty. I am currently on active military
                                                           duty in a military combat zone.                                    duty in a military combat zone.
                                        If you believe you are not required to receive a                   If you believe you are not required to receive a
                                        briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                        motion for wah/er of credit counseling with the court.             motion for waiver of credit counseling with the court.




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 Part 6:   Answer These Questions for Reporting Purposes

                                 16a. Are your ebts primarily consumer debts? Consumer debts are defined in 11 U. S. C. § 101(8)
16. What kind of debts do
                                     as "inc ed by an individualprimarilyfor a personal, family, or household purpose."
    you have?
                                      Q      o. Gotoline16b.
                                            Yes. G     line 17.
                                 16b. Are       ur debts primarily business debts? Business debts are debts that you incurred to obtain
                                      mo y for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                      a Yes. Goto line 17.
                                 16c. State the type of debts you owe that are not consumer debts or business debts.



17 Are you filing under
   Chapter 7?                    Q No. I am notfiling under Chapter 7. Go to line 18.
   Do you estimate thatafter Q Yes-1amfilingunderChapter7.Doyouestimatethatafteranyexemptproperty isexcludedand
   any exempt property is                   administrative expenses are paid that funds will be available to distribute to unsecured creditors?
   excluded and                             a No
   administrative expenses
   are paid that funds will be                 Yes
   available for distribution
   to unsecured creditors?

is. How many creditors do            1-49                                a 1,000-5,000                               a 25,001-50,000
    you estimate that you        Q 50-99                                 a 5,001-10,000                              a 50,001-100,000
   owe?                          a 10 99                                 Q 10,001-25,000                             Q More than 100, 000
                                 a 0-999

19. How much do you                 $0-$50, 000                          1-1 $1,000,001-$10million                   Q $500,000,001-$1 billion
    estimate your assets to      a $50,001-$100,000                      Q $10, 000, 001-$50 million                 1-] $1,000,000,001-$10billion
   be worth?                     a $100 1-$500,000                       Q $50, 000, 001-$100 million                a $10,000,000,001-$50billion
                                 a $ ,001-$1 million                     a $100,000,001-$500million                  Q Morethan$50billion

20. How much do you                 $0-$50, 000                          Q $1, 000, 001-$10 million                  a $500,000,001-$1 billion
    estimate your liabilities    a $50,001-$100,000                     a $10,000,001-$50million                     a $1,000,000,001-$10billion
    to be?                       a $100, 001-$500, 000                  a $50,000,001-$100million                    a $10,000,000,001-$50billion
                                 a $500,001-$1 million                  a $100,000,001-$500million                   Q Morethan $50billion
Part 7:    Sign Below

                                 I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                          correct.

                                 If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                 under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                 this document, I have obtained and read the notice required by 11 U. S. C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                 with a bankruptcy case can result in fines up to $250, 000, or imprisonment for up to 20 years, or both.
                                 18U. S. C. §§152, 341, 1519, and 3571.



                                    Signature of Debtor 1                                             Signature of Debtor 2

                                    Executed on /-/^-Z                                                Executed on
                                                     MM   / DD                                                       MM / DD    /YYYY


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Debtor 1    ^/-^                                                 .f                       Case number (iiknown)




                                I, the attorneyforthe debtor(s) named in this petition, declarethat I have informed the debtor(s) abouteligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U. S. C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledgeafteran inquirythatthe information in the schedulesfiled with the petition is incorrect.
by an attorney, you do not
need to file this page.           -.s                                                              Date
                                   Signature of Attorney   r Debtor                                                     /   DD /YYYY




                                   Printed name



                                   Finn name



                                   Number      Street




                                   City                                                           State           ZIPCode




                                   Contact phone                                                  Email address




                                   Bar number                                                     State




                                                                                                                                     page?
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Debtor 1       ,   -t- /                                      ^                       Case number vimivm}




For you if you are filing this   The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an            should understand that many people find it extremely difficult to represent
attorney                         themselves successfully. Because bankruptcy has long-term financial and legal
                                 consequences,you arestrongly urgedto hirea qualifiedattorney.
If you are represented by
an attorney, you do not          To be successful, you must correctly file and handleyour bankruptcy case. The rules are very
need to file this page.          technical, and a mistake or inaction may affect your rights. For example, your case may be
                                 dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                 hearing, or cooperatewith the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                 firm if your case is selected for audit. Ifthat happens, you could lose your right to file another
                                 case, or you may lose protections, including the benefit of the automatic stay.
                                 You must list all your property and debts in the schedules that you are required to file with the
                                 court. Even if you plan to pay a particulardebt outside of your bankmptcy, you must list that debt
                                 in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                 property or properly claim it as exempt, you may not be able to keep the property. Thejudge can
                                 also deny you a dischargeof all your debts if you do something dishonest in your bankruptcy
                                 case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                 cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                 If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                 hired an attorney. The court wilt not treat you differently because you are filing for yourself. To be
                                 successful, you must be familiar with the United States Bankmptcy Code, the Federal Rules of
                                 Bankmptay Procedure, and the local rules of the court in which your case is filed. You must also
                                 be familiar with any state exemption laws that apply.

                                 Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                 conseque        s?
                                 a
                                     Yes

                                 Are you awar at bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                 inaccura or incomplete, you could be fined or imprisoned?
                                 a
                                     Yes

                                 Did u pay or agreeto paysomeonewho is not an attorney to help you fill out yourbankruptcyforms?
                                     No
                                 Q Yes. NameofPerson
                                           Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature(Official Form 119).


                                 By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                 have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                 attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                                           -^
                                  Signature of Debtor 1                                       Signature of Debtor 2

                                 Date                 - ^-' Z/                                Date
                                                 MM/DD /YYW                                                    MM/ DD/YYYY

                                 Contact phone                                                Contact phone

                                 Cell phone                                                   Celt phone

                                 Email address                                                 Email address



                                                                                                                               pages
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